Case: 2:11-cr-00171-JLG-EPD Doc #: 79 Filed: 03/13/12 Page: 1 of 1 PAGEID #: 248



                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

United States of America

     v.                                     2:11-cr-171-2

Juan Gutierrez

                                    ORDER
     There being no objections, the court hereby adopts the Report
and Recommendation of the magistrate judge (Doc. 72) that the
defendant’s guilty plea be accepted.               The court accepts the
defendant’s plea of guilty to Count 1 of the indictment, and he is
hereby adjudged guilty on that count.            The court will defer the
decision   of   whether    to   accept   the   plea    agreement    until    the
sentencing hearing.


Date: March 13, 2012                    s\James L. Graham
                                  James L. Graham
                                  United States District Judge
